Case 22-40822          Doc 28     Filed 06/28/22 Entered 06/28/22 11:38:13        Main Document
                                               Pg 1 of 2


                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

In re:                                            )     In Proceedings Under Chapter 7
                                                  )
BRIAN JOSEPH RAINES,                              )     Case No. 22-40822-659
                                                  )
                             Debtor.              )
                                                  )

                   MOTION TO REOPEN CHAPTER 7 BANKRUPTCY CASE

         COME NOW Debtor Brian Joseph Raines (“Debtor”), by and through undersigned

counsel, and for his Motion to Reopen Chapter 7 Bankruptcy Case state to the Court as follows:

         1.       Debtor filed his Chapter 7 bankruptcy case on March 25, 2022.

         2.       On June 28, 2022, this Court entered its Final Decree and Notice of Chapter 7

Case Closed without Discharge due to Debtor’s failure to file a certification of completion of

personal financial management course.

         3.       Cause exists to reopen the Debtors case for purpose of certifying completion of

the Debtors post-petition education and entering a discharge order in favor of Debtor.

         WHEREFORE, Debtors pray this Court make and enter its Order granting their request to

reopen the bankruptcy case, entering an order of discharge and for such other and further orders

as the court deems just and proper.

                                              Respectfully submitted,

                                              By: /s/ Robert E. Eggmann
                                                 Robert E. Eggmann, Missouri Bar #37374
                                                 CARMODY MACDONALD P.C.
                                                 120 S. Central Avenue, Suite 1800
                                                 St. Louis, Missouri 63105
                                                 314.854.8600 (Telephone)
                                                 314.854.8660 (Fax)
                                                 ree@carmodymacdonald.com (Electronic Mail)




{21984/00000/3475965.DOC.}
Case 22-40822      Doc 28    Filed 06/28/22 Entered 06/28/22 11:38:13           Main Document
                                          Pg 2 of 2


                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing document was filed electronically
on June 28, 2022, with the United States Bankruptcy Court, and has been served on the parties in
interest via e-mail by the Court’s CM/ECF System as listed on the Court’s Electronic Mail
Notice List.


                                                      /s/ Robert E. Eggmann




                         {21984/00000/3475965.DOC.}                   2
